           Case 1:16-vv-01442-UNJ Document 29
                                           13 Filed 10/20/17
                                                    03/22/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1442V
                                     Filed: March 22, 2017
                                         UNPUBLISHED

****************************
DONNA HUDDY,                            *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
v.                                      *      Influenza (“Flu”); Shoulder Injury
                                        *      Related to Vaccine Administration
SECRETARY OF HEALTH                     *      (“SIRVA”)
AND HUMAN SERVICES,                     *      Special Processing Unit (“SPU”)
                                        *
                    Respondent.         *
                                        *
****************************
Amber Wilson, Maglio Christopher and Toale, Washington, D.C., for petitioner.
Lynn Ricciardella, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

      On November 2, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”) following an influenza (“flu”) vaccine administered on
September 23, 2015. Petition at ¶¶ 2, 13. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On March 20, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent has concluded that petitioner’s alleged injury is consistent
with a SIRVA and was caused-in-fact by the administration of a flu vaccine. Id. at 6.
Respondent further agrees that petitioner has satisfied all legal prerequisites for
compensation under the Vaccine Act. Id.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
       Case 1:16-vv-01442-UNJ Document 29
                                       13 Filed 10/20/17
                                                03/22/17 Page 2 of 2




     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




                                       2
